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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

IN RE: TELEXFREE SECURITIES                              )
LITIGATION                                               )
------------------------------------------------------   )
                                                         )
This Document Relates to:                                )   MDL No. 4:14-md-2566-NMG
                                                         )
ALL CASES                                                )


   MEMORANDUM AND ORDER CONCERNING JOINT EMERGENCY MOTION OF
  DEFENDANTS PROPAY, INC., WELLS FARGO BANK, N.A., VANTAGE PAYMENTS,
    LLC, AND DUSTIN SPARMAN FOR ADDITIONAL TIME TO DEPOSE EXPERT
                        WITNESS KEN MUSANTE
                             (Dkt. No. 2008)

         I.       Introduction

         This case arises from a large scale and complex fraud that functioned simultaneously as a

pyramid and a Ponzi scheme. In 2014 and 2015, several parties in different states brought suits

against various TelexFree entities, principals, and related parties. The actions were consolidated

in this multi-district litigation proceeding and stayed for several years during the pendency of a

federal prosecution. The stay on discovery was lifted in 2019. The parties have substantially

completed non-expert discovery and are now engaged in expert discovery.

         Among the discovery motions filed by the parties that remain pending is the motion now

before the court, filed by defendants ProPay, Inc. (“ProPay”), Wells Fargo Bank, N.A. (“Wells

Fargo”), Vantage Payments, LLC (“Vantage”), and Dustin Sparman (collectively, “Moving

Defendants”) seeking an order from the court pursuant to Fed. Rs. Civ. P. 26(b)(2)(A) and

30(d)(1) extending the time for the Moving Defendants to take the deposition of expert witness

Ken Musante to up to fourteen hours over two consecutive days (Dkt. No. 2008). Plaintiff




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opposes the motion (Dkt. No. 2012). For the reasons set forth herein, the Moving Defendants’

motion is GRANTED.

       II.     Relevant Background

       In compliance with the scheduling order then in effect, Plaintiff served expert reports on

May 5, 2024 (Dkt. No. 2009 at 2). Plaintiff served three expert reports authored by Ken Musante

(“Mr. Musante”), one relating to Vantage (Dkt. No. 2055); one relating to ProPay (Dkt. No.

2055-1); and one relating to Wells Fargo (Dkt. No. 2055-2). Mr. Musante describes himself as

an expert “in Merchant Services, the various players (Visa, MC, issuer, payment gateway, ISO

and merchants) and their roles within Merchant Services. [He] has knowledge of Visa and

Mastercard Rules, payment economics, in industry practices and standards, merchant

adjudication, merchant monitoring, and in the movement of funds in card processing” (e.g., Dkt.

No. 2055 at 5). There is some overlap among the three reports Mr. Musante authored. The

sections setting out his qualifications, including education and experience, do not change from

report to report. There is substantial, but not complete, overlap in sections in which he defines

industry terms and explains certain industry rules, regulations, and practices he deems relevant

(Dkt. No. 2055 at 5-9; Dkt. No. 2055-1 at 6-9; Dkt. No. 2055-2 at 6-9). The remainder of each

of the three reports is dedicated to Mr. Musante’s analyses of the differing role he opines that

Propay, Wells Fargo, and Vantage played in enabling and prolonging TelexFree’s fraudulent

activities and their alleged failures to comply with their legal obligations. The longest of Mr.

Musante’s reports is some thirty-five pages in length. The reports do not list the materials Mr.

Musante reviewed but based on the contents of the reports, those materials include, among other

things, documents produced in discovery by Propay, Wells Fargo, and Vantage, and transcripts

of deposition testimony from a representative of each organization.



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       III.    Analysis

       Fed R. Civ. P. 30(d)(1) (“Rule 30(d)”) provides, in pertinent part, that “[u]nless otherwise

stipulated or ordered by the court, a deposition is limited to one day of 7 hours. The court must

allow additional time consistent with Rule 26(b)(1) and (2) if needed to fairly examine the

deponent ….” The parties’ respective positions are easy to state. In advance of convening Mr.

Musante’s deposition, the Moving Defendants seek an order from the court permitting them to

take up to fourteen hours of deposition testimony from Mr. Musante on the ground that he is an

expert witness opining on critical issues and voluminous data concerning three separate

defendants, each of which is entitled to sufficient time to explore and understand the bases of his

opinions about their respective roles (Dkt. No. 2009 at 2-3). Plaintiff argues that the Moving

Defendants should be required to proceed with the deposition, see what can be accomplished in

seven hours, and either negotiate or move for additional time to depose Mr. Musante if they take

the position that they were not able to complete his deposition in the one-day, 7-hour period

provided for in Rule 30(d). Plaintiff adds that he believes that if the Moving Defendants depose

Mr. Musante in good faith, they will be able to complete his deposition in seven hours (Dkt. No.

2012 at 2-5). The Moving Defendants have the better of the arguments.

       There is support for Plaintiff’s position. In Malec v. Trs. of Boston Coll., 208 F.R.D. 23

(D. Mass. 2002), the defendants moved for an additional 7-hour day of deposition time in

advance of taking the plaintiff’s deposition. Magistrate Judge Collings held that, while he would

obviously allow the defendants more than seven hours if that time was needed for a fair

examination of the plaintiff, “the better practice [wa]s for the deposition to go forward to

determine how much is able to be covered in seven hours and, then, if additional time is needed,

for counsel to stipulate to extend the deposition for a specific additional time period.” Id. at 24.



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See also, e.g., Pratt v. Archstone Willow Glen Apartments, No. C 08-3588 JF (RS), 2009 WL

2032469, at *1 (N.D. Cal. July 10, 2009) (same).

       There is also authority for the Moving Defendants’ position, and for their decision to

make the request in advance of the deposition. First, the 2000 advisory committee notes to Rule

30(d) list several factors that the parties or the court might consider in deciding whether to

extend the duration of a deposition, including that “[i]n multi-party cases, the need for each party

to examine the witness may warrant additional time … [and that] with regard to expert witnesses

there may more often be a need for additional time – even after the submission of the report

required by Rule 26(a)(2) – for full exploration of the theories upon which the witness relies.”

FED. R. CIV. P. 30(d)(1) advisory committee’s note to 2000 amendment. Second, there are a

number of courts that have granted requests made in advance of a deposition for additional time

to depose expert witnesses in circumstances similar to those present in the instant action. See.,

e.g., MRP Props., LLC v. United States, Case No. 17-11174, 2020 WL 1640161 at *2 (E.D.

Mich. Apr. 2, 2020) (allowing noticing party up to 10 hours of deposition time for each expert

witness in advance); Sexton v. Exxon Mobil Corp., CIVIL ACTION NO. 17-482-JWD-RLB,

2020 WL 515852, at *3 (M.D. La. Jan. 31, 2020) (allowing an additional 7 hours of deposition

time of plaintiffs’ expert in advance of the deposition); Phillip M. Adams & Assocs., L.L.C. v.

Fujitsu Ltd., Civil No. 1:05-CV-64 TS, 2010 WL 1901775, at *2 (D. Utah May 10, 2010)

(allowing in advance three hours of deposition time for the noticing defendant and an additional

two hours for each other defendant, defined to include affiliated entities). Third, at least one

court has taken the position that the deposing party should raise the issue of needing additional

time in advance of a deposition on complex topics involving numerous documents. See Del Sol

v. Whiting, No. CV-10-01061-PHX-SRB, 2015 WL 12090268, at *4 (D. Ariz. Mar. 10, 2015)



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(faulting plaintiffs for not raising the issue of needing additional time to depose a critical witness

in advance of his deposition and denying as untimely plaintiffs’ motion, made after the first day

of witness testimony, for additional time to complete the deposition).

       The factors on which the court relied in the Sexton case are all present here. In Sexton, as

in this case, the court noted that the case involved multiple parties and expert evidence

addressing a voluminous and complex factual record. Sexton, 2020 WL 515852, at *3. As is

true in the instant case, the deposition in the Sexton case would “require out-of-state travel by

numerous attorneys and, potentially, party representatives.” Id. The court noted as well that, as

a retained expert, the deponent would be paid a reasonable fee for extra time spent testifying in

compliance with Rule 26(b)(4)(E). Id. In contrast, Malec involved a single attorney deposing

the plaintiff, a fact witness. Malec, 208 F.R.D. at 24. The decision does not suggest that

defendants were dealing with a voluminous or complex record. Nor, given that both attorneys

were from Boston, would it be difficult to coordinate the schedules of numerous out-of-state

attorneys if the deposition needed to be reconvened. See id.

       Broadly described, Mr. Musante’s expert reports address the central issues of whether the

Moving Defendants knew or should have known that TelexFree was a fraudulent enterprise and

the extent to which their action or inaction allegedly contributed to TelexFree’s ability to

continue operating illegally in a highly regulated environment. Mr. Musante’s analyses differ as

to each of the Moving Defendants who, according to Mr. Musante’s reports, each played a

different role in enabling TelexFree to continue operating. In addition to the difficulties and

increased costs of reconvening a deposition involving multiple attorneys from different

jurisdictions, defense counsel will be hampered in their ability to plan their questioning of Mr.

Musante if they do not know in advance how much time they will have to pose questions. Cf.



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Del Sol, 2015 WL 12090268, at *5 (in denying the plaintiffs’ request for addition deposition

time, the court observed that “[p]laintiffs would have known of the form and content of their

questioning long before the deposition occurred as well as the type of information they needed to

elicit from [the deponent] based on the voluminous discovery production to date”). Counsel for

the Moving Defendants represent that they have agreed on an allocation of the fourteen hours of

deposition time they seek and that one of the Moving Defendants will be designated to cover

areas of common interest to avoid duplication (Dkt. No. 2009 at 4). Given the critical issues

addressed in Mr. Musante’s reports, the voluminous record on which they rely, “and the number

of parties seeking testimony in support of their own positions, the additional day of deposition

time will allow for full exploration of the theories upon which [Mr. Musante] relies.” Sexton,

2020 WL 515852, at *3.

       IV.     Conclusion

       For the foregoing reasons, the Moving Defendants’ joint emergency motion for additional

time to depose expert witness Ken Musante is GRANTED. The deposition will take place over

two consecutive days within 28 days of issuance of this memorandum and order.

       It is so ordered.                     Katherine A. Robertson
                                             KATHERINE A. ROBERTSON
                                             U.S. MAGISTRATE JUDGE
Dated: May 21, 2024




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